,Case.1:17-cr-00008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 1 of 25

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

THE PEOPLE OF THE STATE OF NEW YORK
~against-

Guy Marceau Jean-Pierre,

Defendant.

THE GRAND JURY OF THE COUNTY OF NEW YORK, by this
indictment, accuses the defendant of the crime of FORGERY IN THE
SECOND DEGREE, in violation of Penal Law §170.10(1), committed as
follows:

The defendant, in the County of New: York, on or about May 7, 2010, with
intent to defraud, deceive and injure another. falsely made, completed and altered
a written instrument, the same being and purporting to be, and calculated to.
become and td represent if completed. a deed. will. codicil. contract, assignment.
commercial instrument, credit card, and other instrument which did and may have
evidenced, created, transferred. terminated and otherwise affected a legal right.
interest, obligation and status. to wit: .an Attorney Letter Agreement date and

time stamped 12:17 05/07/10.

vac AUG 20 2013

| hereby cartify.that the foregoing
is a true copy of the original
filed In my office.

- County Clerk and Clerk of the

Supreme Court New York

GOVERNMENT Court New Ya

EXHIBIT

II
I Or=aD00K Varn fi

    
     
Case:1:17-cr-00008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 2 of 25

SECOND COUNT:

AND THE GRAND JURY AFORESAID. by this indictment, further
accuses the defendant of the crime of FORGERY IN THE SECOND DEGREE.
in violation of Penal Law §170.10(1), comntitted as follows:

The defendant, in the County of New York. on or atiout May 7. 2010, with
intent to defraud, deceive and injure another, falsely made. completed and altered
a written instrument, the same being and purporting to be, and calculated to
become and to represent if completed, a.deed, will, codicil, contract, assignment,
commercial instrument, credit card, and other instrumerii which did and may have
evidenced, created, transferred, terminated and otherwise affected a legal right,
interest, obligation arid status, to wit: an Atterney Letter Agreement date and time

stamped 12:28 05/07/10.

ane, AUG 20 288

sper ea te copy of the original
thereof, filed in my office.

Pana fits

a County Clerk and Clerk of the
Supreme Court New York County
OFFICIAL USE
Case 1:17-cr-00008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 3 of 25

THIRD COUNT:

AND THE GRAND JURY AFORESAID, by this itdictment. further
accuses the defendant of the crime of FORGERY IN THE SECOND DEGREE.
in violation of Penal J.aw $170.10(1), committed as follows:

The defendant, in the County of New York, oni or about May 7, 2010, with
intent to defraud, deceive and injure another, falsely made, completed and altered
‘a written instrument. the same being: and purporting to be. and calculaied to
hecome and to represent if completed, a deed, will, codicil. contract, assignment.
commercial instrument, credit card, and other instrument which did and may have
evidenced, created. transferred, terminated and otherwise affected a legal right,
interest, obligation and status, fo wit: an Attorney Letter Agreement date and

time stamped 12:22 05/07/10.

oar, AVE 20 2019

| hereby certity that the toregning
paper is a tue copy of the atiginal
therect, fited in my office,

Faron flim.

County Clerk and Clerk of the
Supreme Court New York County
OFFICIAL USE
Case.1:17-cr-0O0008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 4 of 25

FOURTH COUNT:

AND THE GRAND JURY AFORESAID. by this indictment. further
accuses the defendant of the crime of FORGERY IN THE SECOND DEGREE,
in violation of Penal Iaw §176.10(1), commitied as follows:

The defendant, in the County of New York,.on or about May 7, 2010, with
interit lo defraud. deceive and injure another, falsely made, compleied and altered
a written instrument. the same being and purporting to be, and calculated to
become and to represent if completed, a deed, will, codicil, contract, assignment,
commercial instrament, credit card, and other instrument which did and may have
evidenced, created, iransferred. terminated and otherwise affected a legal right.
interest, obligation and status, to wit: an Attorney Letter Agreement date and

time stampéd 15:51 05/07/10.

cate AUG 20 2013

esaby castify that the foregoing
i is 2 {rue copy nf the o} iginal
Snereof, fied 1a my ofliee.

“Hannon flan

eu. Gaunty Clerk and Glerk ofthe
“ Supreme Court New lew York Goutt>
OFFICIAL USE
Case 1:17-cr-00008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 5 of 25

FIFTH COUNT:

AND THE GRAND JURY AFORESAID. by this indictment, further
ACCUSES the-defendant of the crime of FORGERY IN THE SECOND DEGREE.
in violation of Penal Law §170.10{1), committed as follows:

The defendant, in the County of New York. on or about May 10, 2010,
with intent to defraud, deceive and injure another, falsely rade. completed and
altered a written instrument. the same being and purporting 1o be, and calculated
to become and to represent if completed, a deed, will, cadicil, contract,
assignment, commercial instrument, credit card, and other instrument which did
and may have evidenced, created, transferred, terminated and otherwise affected a
legal tight, interest, obligation and status, to wit: an Attorney Letter Agreement

date and time stamped 16:36 05/10/10.

AUG 20 2013
catty that the foregoing
| hareby ce ae
paper i of the original
Bape Bad in my office.

Danian

Clerk and Clerk of thé
supreme Court New Yark Count?
OFFICIAL USE
Case 1:17-cr-0O0008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 6 of 25

SIXTH COUNT:

AND THE GRAND JURY AFORESAID, by this indictment. further
accuses the defendant of the crime of FORGERY IN THE SECOND DEGREE.
in violation of Penal Law $170.10(1), committed as follows:

The defendant, in the County of New York, on or about May 10, 2010,
with intent to defraud, deceive and injure another, falsely madé. completed and
altered a written instrument, the same being and purporting 1o be, and calculated
to become and fo represent if completed, a deed, will, codicil, contract,
assignment, commercial instrument, credit card, and other instrument which did
and may have-evidenced, created, transferred, terminated and otherwise affected a
legal right, interest, obligation and status, to wil: an Attorney Letter Agreentent

date and time stamped 16:37 05/10/10.

and Clerk of tht

E— County Cie! Hew York Cov
‘ gupreme CORAL UBE
Case 1:17-cr-O0008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 7 of 25

SEVENTH COUNT:

AND THE GRAND JURY AFORESAID, by. this indiciment, further
accuses the defendant of the crime of FORGERY IN THE SECOND DEGREE.
in violation of Penal Law §170.10(1), committed as follows:

The defendant, in the County of New York. on or about May 10, 2010,
with intent to defraud, deceive and injure another. falsely made, completed and
altered a written iristrument, the sdme being and purporting io be. and calculated
lo become and {o represent if completed, a deed, will, codicil, contract,
assignment, commercial instrument, credit card, and other instrument which did
and may have evidenced, created, transferred, terminated and otherwise affected a
legal right, interest, obligation and status, to wit: an Attomey Letter Agreement

date and lime stamped 16:42 05/10/10.

AUG 2 0

DATE

I hareby certify thal the foregoing 2013
patier i atrue enpy of the crejnal
thereof, filed in my office,

asa fia

scanty Clerk and Clerk of the
Supreme Court New York Gounfy
OFFICIAL USE
,Case.1:17-cr-00008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 8 of 25

EIGHTH COUNT:

AND THE GRAND JURY AFORESAID. by this indictment, further
accuses the defendant of the crime of FORGERY IN THE SECOND DEGREE,
in violation of Penal Law §170.10¢1). committed as follows:

The defendant. in the County of New York, on or about May 10. 2010,
with intent to defraud, deceive and injure another, falsely made. completed and
altered a written instrumeni, the same being and purporting to be, and calculated
to become and to represent if completed, a deed, will. codicil, contract,
assignment, commercial instrument, credit card. and other instrument whieh did
and may have evidenced, created, transferred, terminated and otherwise affected a
legal right. interest. obligation arid status. to wit: an Attorney Letter Agréement

date and time stamped 16:43 05/10/10.

"py 28 2013

hereby certify thal the foreqaing
per is on cnpy of the ol iqinat
terest filed in my ofhce:

Om

SoU Court New York Cau
OFFICIAL USE
.Case.1:17-cr-00008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 9 of 25

NINTH COUNT:

AND THE GRAND JURY AFORESAID. by this indictment. further
accuses the defendant of the crime of FORGERY IN THE SECOND DEGREE,
in violation of Penal [aw $170.10()). committed as follows:

The defendant, in the County of New York. en or about May 11, 2010,
with intent 16 defraud, deceive and injure another. falsely made. cémpleted and
altered a writieh instrument, the same being and purporting to be, and calculated
to become and to represent if completed, a deed, will, codicil, contract,
assignment, commercial instrument, credit card, and other instrument which did
and may have evidenced, created, transferred, terminated and otherwise affected a
legal right, interest, obligation and status, to wit: an Attorney Letter Agreement

date and lime stamped 15:03 05/11/10.

DATE AUG 20 2013
aay ort et
thereof, fied inmy ofan

“Fernanda

sont {ler and Clerk of the,

Ceant New York Coun
Supreme Caart Ne USE ¥
Case 1:17-cr-O0008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 10 of 25

TENTH COUNT:

AND THE GRAND JURY AFORESAID, by this indictment, further
accuses the defendant of the crime of FORGERY IN THE SECOND DEGREE.
in violation of Penal Law §170.10(1), committed as follows:

The defendant, in the County of New York. on or about May 11, 2010,
with intent to defraud; deceive and injure another, falsely made, completed and
altered a written instrument, the same being and purporting to be, and calculated
1o become and io represent if completed, a deed, will, codicil, contract,
assignment, commercial instrument, credit card, and other instrument which did
and may have evidenced, created, transferred. terminated and otherwise affected a
tegal right, interest, obligation and status, to wit: an Attorney Letter Agreement

date.and time stamped 15:04 05/11/10.

AUG 20 2013

DATE
| heresy certify that the foregoing
paper is a true copy of the original
thereof, filed in my offise.

© Foeenae file

— County Clerk and. Cletk of the
Supreme Court New York Gountf
” OFFICIAL USE
Case 1:17-cr-00008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 11 of 25

ELEVENTH COUNT:

AND THE GRAND JURY AFORESAID. by this indictment. further
accuses the defendant of the crime of FORGERY IN THE SECOND DEGREE,
in violation of Penal Law §170.10(1), committed as follows:

The defendant, in the County of New York, on or ahout May 11, 2010.
with intent te defraud, deceive and injure another, falsely made, completed aiid
altered a writlen instrument, the same being and purparting to be. and calculated
io become and to represent if completed, a deed, will, codicil, contract,
assignment, commercial instrument, credit card, and other.instruament which did
and may have evidenced, created, transferred, terminated and otherwise affected a
legal right. interest, obligation and status. an Attorney Letter Agreement date and

time stamped 15:07 05/11/10.

vare AUG 20 2013

ereby certify that the foregoing
rover ig a true copy of the original
thereof, filed in my affice.

“Peanut fle

- County Clerk and Clerk of the
4 Supra Court New York County
“OFFICIAL USE
Case 1:17-cr-0O0008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 12 of 25

TWELFTH COUNT:

AND THE GRAND JURY AFORESAID. by this indictment, further
accuses the defendant of the ctime of FORGERY IN THE. SECOND DEGREE,
in violation of Penal Law §170.10(1), committed as follows:

The defendant, in the County of New York. on or about May 11. 2010,
with intent to defraud. deceive and injure another, falsely made, completed and
altered a written instrument, the same being and purporting to be, and calculated
to become and to represent if completed, a deed, will, codicil, contract,
assignment, commiercial instrument, credit card, and other instrument which did
and may have evidenced, created, transferred, terminated and otherwise affected a
legal right, inierest, obligation and status, te wit: an Attomiey Letter Agreement

date and time stamped 15:08 05/11/16.

unis AUG 2 0 9979

hereby certify that the 420
pee @ trae copy of the original
Forse! tied In my office.

afi

Sap, Sattar Clerk of the
Sonera Court New York County
Case 1:17-cr-00008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 13 of 25

THIRTEENTH COUNT:

AND THE GRAND JURY AFORESAID, by this indictment. further
accuses the defendant of the crime of IDENTITY THEFT IN THE FIRST.
DEGREF, in violation of Penal Law §190.80(3), committed as follows:

The defendant, in the County of New York, on or about May 7, 2010,
knowingly and with intent toe defraud assunied the identity of another persen by
presenting. himself as-that other person, and by acting as that other person, and by
using personal identifying information of that other person and thereby committed
and attempted to commit a class D felony or higher level crime, and acted as an
accessory in the commission of a class D or higher level felony, to wit: an

Attorney Letter Agreement date and time stamped 12:17 05/07/10.

pave AUG 20 2013

Tweedy certify thal the foregoing
gis a true copy of the original
filed in my ofhee

" Feenas fitlamse

County Ctefk and Clerk of the
‘Supreme Court New York County
OFFICIAL USE
Case 1:17-cr-00008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 14 of 25

FOURTEENTH. COUNT:

AND THE GRAND JURY AFORESAID. by this indictment. further
aceuses the defendant of the crime of IDENTITY THEFT IN THE FIRST
DEGREE. in violation of Penal Law §190.80(3), committed as follows:

The defendant, in the County of New York, an or about May 7, 2010,
knowingly and with intent te defraud assumed. the identity of another person by
presenting himself as that other person, arid by acting as that other person, and by.
using, personal identifying information of that other person and thereby committed
and attempted to commit a class D felony or higher level crime, and acted as an
accessory in the commission of a class D or higher level felony, to wit: an

Attorney Letter Agreement date.and time stamped 12:28 05/07/10.

FIFTEENTH COUNT:
AND THE GRAND JURY AFORESAID, by this indictment, further
accuses the defendant of the crime of IDENTITY THEFT IN THE FIRST
DEGREE, in violation of Penal Law §190.80(3), committed as follows:
The defendant. in the County of New York, on or about May 7, 2010.
knowingly and with intent to defraud assumed the identity of another person by
presenting himself as that other person. and by acting as that other person. and by
using personal identifying. information of that other person and thereby committed
und attempted to commit a class J) felony or higher level crime, and acted as an
accessory in the commission of a class 1D or higher level felany. 10 wit: AUG 20 2013

Attorney Letter Agreement date and time stamped 12:22 93/0741 Ovperebyy cenly copy of the axiginel .

at

“Dasnee fie

and Clerk of te,
County aon New York
Case 1:17-cr-O0008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 15 of 25

SIXTEENTH COUNT:

AND THE GRAND JURY AFORESAID. by this indictment. further
accuses the defendant of the crime of IDENTITY THEFT IN THE FIRST
DEGREE, in violation of Penal Law §190.80(3), committed as follows:

The defendant, in the County of New York, on or about May 7, 2010,
knowingly and with intent to defraud assumed the identity of another person by
présenting himself as thai other person, and by acting as that other person, and by
using personal identifying information of that other person and thereby committed
and attempted to commit a class D felony or higher level crime, and acted as an
accessory in the commissian of a class D or higher level felony, te wit: an

Attorney Letter Agreement date and time stamped 15:5] 05/07/10.

SEVENTEENTH COUNT:
AND THE GRAND JURY AFORESAID, by this indictment, further
accuses the defendant of the crime of IDENTITY THEFT IN THE FIRST
DEGREE, in violation of Penal Law §190.80(3)}. committed as follews:
The defendant, in the County of New York, an er about May 10, 2010,
knowingly and with intent to defraud assumed the identity of another person by
presenting himself as that other person. and by acting as that other person, and by
using personal identifying information of that other person and thereby committed
and attempted to commit a class D felony or higher level crime, and acied as an
accessory in the commission of a class D or higher fevel felony. to wit: “he 0 n3

Atiomey Letter Agreement date and time stumped 16:36 05/10/10. ther sey fat ne tres
Is & tue copy nt the originat

teroot, filed in my offise.

“Ferman fils

geounty Glerk anc Clerk of He
Suprenta Gourt New York Coumy
OFFICIAL USE
Case 1:17-cr-00008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 16 of 25

EIGHTEENTH COUNT:

AND THE GRAND JURY AFORESAID, by this indictment. further
accuses the defendant of the crime of IDENTITY THEFT IN THE FIRST
DEGREE, in violation of Penal Law §190.80(3)}, committed as follows:

The defendant, in the Caunty of New York. 6n or about May 10. 2010,
knowingly and with intent to defraud assumed the identity of another person by
presenting himself as that other person, and by acting as that other person, and by
using personal identifying information of that other person and thereby committed
and atiempted to commit a class D felony or higher level crime, and acted as an
accessory in the commission of a class D ar higher level felony, to wit: an

Attorney Letter Agreement date and time stamped 16:37 05/10/10.

NINETEENTH COUNT:
AND THE GRAND JURY AFORESAID. by this indictment. further

accuses the defendant of the crime of IDENTITY THEFT IN THE FIRST

DEGREE. in violation of Penal Law §190.80(3), commitied as follows:
The defendant, in the County of New York, on or about May [0, 2010,

knowingly and with intent to defraud assumed the identity of another person by

presenting himself as that other person. and by acting as that other person. and hy

using personal identifying information of that ather person and thereby committed

and atiempted to commit a class D Ielony or higher level crime. and acted as an

accessary in the commission of a class D or higher level felony. ° wit: “AUG 20 2013

i

DATE =
A Tener / . ne ¢ ‘ ste “A OST OL 4 fhe foregetnd
ttomey Letter Agreement date and time stamped 16:42 05/1041 Qty certify that crihe original

pape ted in my offioe.

Clerk and Clerk of the
gupreme Court New York
OFFICIAL USE
Case 1:17-cr-O0008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 17 of 25

TWENTIETH COUNT:

AND THE GRAND JURY AFORESAID, hy this indictment, further
accuses the defendant of the crime of IDENTITY THEFT IN THE FIRST
DEGREE, in violation of Penal Law §190.80(3), committed as follows:

‘The defendant, in the County of New York. on or about May 10. 2010.
knowingly and with intent te defraud assumed the identity of another person by
presenting himself as that other person, and by acting as thal other person, and by
using personal identifying information of that other person and thereby committed
and attempted to commit a class D felony or higher level crime, and acted as an
accessory in the commission of a class D or higher level felony, to wit: an

Attorney Letter Agreement date and time stamped 16:43 05/10/10.

TWENTY-FIRST COUNT:

AND THE GRAND JURY AFORESAID, by this indictment. further
accuses the defendant of the crime of IDENTITY THEFT IN THE FIRST
DEGREE, in violation of Penal Law §190.80(3), committed as follows:

The defendant. in the County of New York, on or about May 11. 2010,
knowingly and with intent to defraud assumed the identity of another person by
presenting himself as that other person. and by acting as that other person. and by
using personal identifying information of that other person and thereby conimitted
and attempted to commit a class D felony or higher level erime, and acted as an

accessory in the commission of a class 1) ar higher level felony. to wit: ‘Aye 0 903
UATE f 2
a Te aR dates jraags of PS<)2 OST ¢ certify that ine furegoitg
Atiorney Letter Agreement date und time slamped 15:03 05/11/1706 Fea tus copy of the original

thereof, filed in my office.

“Desoon fanas

_ County Cterk and Clerk of the
Supreme Court New York County
Case 1:17-cr-00008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 18 of 25

TWENTY-SECOND COUNT:

AND THE GRAND FURY AFORESAID, by this indictment. further
accuses the defendant of the crime of IDENTITY THEFT IN THE FIRSF
DEGREE, in violation of Penal Law §190.80(3), committed as follows:

The defendant, in the County of New York, on or about May 11. 2010.
knowingly and with intent to defraud assumed the identity of another person by
presenting himself as that other person, and by acting as that other person, and by
using personal identifying information of that other person and thereby committed
and attempted to commit a class D felony or higher Jevel crime, and acted as an
accessory in ihe commission of a class D of higher level felony, to wil: an

Altomey Letter Agreement date and time stamped 15:04 05/11/10.

TWENTY-THIRD COUNT:

AND THE GRAND JURY AFORESAID, by this indictment, further
accuses the defendant of the crime of IDENTITY THEFT IN THE FIRST
DEGREE, in violation of Penal Law §190.80(3}, committed as follows:

The defendant, in the County ef New York, on er about May 11, 2010,
knowingly and with intent to defraud assumed the identity of another person by
presenting himself as that other person, and by acting as that other person. and by
using personal identifying information of that other person and thereby committed
amd attempled to cumumil a class D felony or higher level crime, and acted as an

acressory jn the commission of a class D or higher level felony. to wit: . AUG

here 20 2013
i
Atlomey Letter Agreement date and time stamped 15:07 04/111 C.paperis ey ta re fonssoing
thereof, filed inimy cite, oe
iRy a

Anecftnns

sum Cterk ant Chak
OFFICIAL, Leak Cour
Case 1:17-cr-O0008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 19 of 25

TWENTY-FOURTII COUNT:

AND THE GRAND JURY AFORESAID, by this indictment. further
accuses the defendant of the crime of IDENTITY THEFT IN THE FIRST
DEGREE. in violation of Penal Law §190.80(3), committed as follows:

The defendant, in the County of New York, on or about May 11, 2010,
knowingly and with intent to defraud assumed the identity of another person by
presenting himself as that other person, and by acting as that other person. and by
using personal identifying information of that other person and thereby committed
and attempted to commit a class D felony or higher level crime, and acted as an
accessory in the commission of a class D or higher level feloriy, to wit: an

Attorney Letter Agreement date and time stamped 15:08 04/11/10.

TWENTY-FIFTH COUNT:

AND TUE GRAND JURY AFORESAID, by this indictment, further
accuses the defendant of the crime of FALSIFYING BUSINESS RECORDS IN
THE FIRST DEGREE, in violation of Penal Law §175.10. committed as
follows:

The defendant, in the County of New York, on or about May 7. 2010. with
intent to defraud. including an intent to commit another crime and to aid and
conceal the commission thercol, made and caused a false entry in the business

records of an enlerprise. to wit: an Attorney Letter Agreement date and lime

stamped 12:17 05/07/10, UAIE AUG 20 2013
pnoraby certify that the foregoing
thereof, filed may tee oeginsl

"Farnese fatima,

County Clerk dind-Glevk of the
Supreme Court New York County
OFFICIAL USE
Case 1:17-cr-O0008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 20 of 25

TWENTY-SIXTH COUNT:

AND THE GRAND JURY AFORESAID, hy this: indictment. further
accuses the defendant of the crime of FALSIFYING BUSINESS RECORDS IN
THE FIRST DEGREE, in violation of Penal Law §175.10, committed as
follows:

The defendant, in the County of New York, on or about May 7. 2010, with
intent to defraud, including an intent to commit another crime and to aid and
conceal the commission thereof, made and caused a false entry in the business
records of an enterprise, to wit: an Attorney Letter Agreement date and time

stamped 12:28 05/07/10.

TWENTY-SEVENTH COUNT:

AND THE GRAND JURY AFORESAID, by this indictment. further
accuses the defendant of the crime of FALSIFYING BUSINESS RECORDS IN
THE. FIRST DEGREE, in violation of Penal Law §175.10, committed as
follows:

The defendant. in the County of New Yerk. on or about May 7, 2010, with

‘ intent to defraud, including an intent to commit another crime and to aid and
conceal the commission thereof. made and caused a false entry in the business
records of an enterprise, to wit: an Attorney Letter Agreement date and time

slanped 12:22 05/07/10,
Larger ke, AUG 2 0 2013
I hereby cert fy tht the Jaren
paper ts a true ecpy of the original
thereat fied in my-oitice

Doan fi

County Clerk anc Clerk of the
Supreme Caurt New York County
OFFICIAL USE
Case 1:17-cr-O0008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 21 of 25

TWENTY-EIGHT] COUNT:

AND THE GRAND JURY AFORESAID, by this indictment. further
aceuses the defendant of the crime of FALSIFYING BUSINESS RECORDS IN
THE FIRST DEGREE. in violation of Penal Law §175.10, committed as
follows:

The defendant, in the County of New York, on or about May 7. 2010, with
intent to defraud, including an intent to commit another crime and to aid and
conceal the commission thereof, made and caused a false entry in the business
records of an enterprise, 16 wit: an Attormey Letter Agreement date and time

stamped 15:51 05/07/10.

TWENTY-NINTH COUNT:

AND THE GRAND JURY AFORESAID, by this indictment, further
accuses the defendant of the crime of FALSIFYING BUSINESS RECORDS IN
THE FIRST DEGREE, in violation of Penal Law §175.10, committed as
follows:

The defendant, in the County of New York. on of about May 10, 2010,
with intent to defraud, including an intent to commit another crime and to aid and
conceal the commission thereof. made and caused a false entry in the business
records of an enterprise, to wit: an Attorney Letter Agreement date and time
stamped 16:36 05/10/10.

ity oi 2. 28

Freteot led copy ot fhe onginal
Ried in my office

Tien fina

ent Clerk and Glerk of fhe
Suprnanes Goan Newt York Couhty
Case 1:17-cr-00008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 22 of 25

THIRTIETH COUNT:

AND THE GRAND JURY AFORESAID, by this indictment, further
accuses the defendant of the crime of FALSIFYING BUSINESS RECORDS IN
THE FIRST DEGREE. in violation of Penal Law §175.16. committed as
follows:

The detendant, in the County of New York, on or about May 10, 2010.
with intent to defraud. including an intent to commit another crime and to aid and
conceal the commission thereof, made and caused a false entry in the business
records of an enterprise, to wit: an Attorney Letter Agreement date and time

stamped 16:37 05/10/10.

THIRTY-FIRST COUNT:

AND THE GRAND JURY AFORESAID. by this indictment, further
accuses the defendant of the crime of FALSIFYING BUSINESS RECORDS IN
THE FIRST DEGREE, in violation of Penal Law §175.10, committed as
toflows:

The defendant. in ihe County 6f New York. on or about May 10, 2010,
with intent to defraud. including an intent to commit another crime and to aid and
conceal the commission thereof. made and caused a false entry in the business

reeards of an enterprise. to wit: an Attorney Letter Agreement date and time

slamped 16:42 05/10/10.

pee fed my office.

“Pleenas flat

Capit Jerk and Clerk of the
San Court Now York Coury
OFFIGIAL USE
Gase 1:17-cr-O0008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 23 of 25

THIRTY-SECOND COUNT:

AND TI GRAND JURY AFORESAID, by this indictment, further
accuses the defendant of the crime of FALSIFYING BUSINESS RECORDS IN
THE FIRST DEGREE, in violation of Penal Law 8175.10, committed’ as
follows:

The defendant, in the County of New York, on or about May 10, 2010,
with intent to defraud, including an intent to commit another crime and to aid and
conceal the commission thereof, made and caused a false entry in the business
records of an enterprise, 10 wit: an Attorney Letter Agrecment date and time

stamped 16:43 05/10/10.

THIRTY-THIRD COUNT:

AND THE GRAND JURY AFORESAID, by this indietment, further
accuses the defendant of the crime of FALSIFYING BUSINESS RECORDS IN
THE FIRST DEGREE, in violation of Penal Law §175.10, committed as
follows:

The defendant, in ihe County of New York. on or about May 11, 2010,
with intent to defraud, inchuding an intent {o commit another crime and to aid and
conceal the commission thereof. made and caused a false entry in the business
records of an enterprise. 10 wit: an Attorncy Letter Agreement date and time

sleunped 15:03 08/11/10,

AUG 70 2013

YA
hereby cortify (ted tre: forequiay
paper is a tree copy of Ihe original
thefeot, filed mn my alice

“Fama felis

Cherk and Clerk of the
saves Court New York County
OFFICIAL USE
Case 1:17-cr-00008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 24 of 25

THIRTY-FOURTH COUNT:

AND THE GRAND JURY AFORESAID, by this indictment, further
accuses the defendant of the crime of FALSIFYING BUSINESS RECORDS IN
THE FIRST DEGREE, in violation of Penal Law $175.10, committed as
fallows:

The defendant. in the County of New York, on or about May 1]. 2010,
with intent to defraud, including an intent to commit another crime and to aid and
conceal the commission thereof, made and caused a false entry in the business
records of an enterprise, to wit: an Attorney Letter Agreement date and time

stamped 15:04 05/11/10.

THIRTY-FIFTH COUNT:

AND THE GRAND JURY AFORESAID, by this indictment. further
accuses the defendant of the crime of FALSIFYING BUSINESS RECORDS IN
THE FIRST DEGREE, in violation of Penal Law §175.10, committed as
follows:

The defendant. in the County of New York. on or about May 11. 2010.
with intent to defraud, including an intent to commit another crime and to aid and
conceal the commission thereof. made and caused a false entry in the business
records of an enterprise. fo wit: an Attorney Letter Agreement date and time

stamped 15:07 O35/11/10.

mre AUS 2.0 2013

thereby certify thal fhe foregoing
paper Is-a true copy of the eriginal
Peet, fled in my offi,

i County Clerk and Clerk of fhe
‘ Supreine Court New York County
OFFICIAL Ua
Case 1:17-cr-00008-WJM Document 17-10 Filed 02/09/17 USDC Colorado Page 25 of 25

THIRTY-SIXTH COUNT:

AND THE GRAND JURY AFORESAID, by this indictment, further
accuses the defendant of the crime of FALSIFYING BUSINESS RECORDS IN
THE FIRST DEGREE. in violation of Penal Law §175.10, committed -as
follows:

The deféndant, in the County of New York. on or about May 11]. 2010,
with intent to defraud, including an intent 1o commit another crime and to aid and
conceal the commission thereof. made and caused a false entry in the business
records of an enterprise, to wit: an Attorney Letter. Agreement dat# and lime

stamped 15:08 05/11/10.

CYRUS R. VANCE, JR.
District Atlornéy

AUG 20 9919

T
hereby certify that the trregoing
paper is a true copy of fhe original
thereof, filed in my allies

= Couey Clerk ord Ca of the
ae OFFICIAL USE
